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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             v.                           ) CAUSE NO. 3:09-CR-00062(01) RM
                                          )
 MARTIN BESERRA                           )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on January 25, 2010. Accordingly,

 the court ADOPTS those findings and recommendations [docket # 79], ACCEPTS

 defendant Martin Beserra’s plea of guilty, and FINDS the defendant guilty of

 Count 8 of the Indictment, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:       February 16, 2010



                                  /s/ Robert L. Miller, Jr.
                                Judge
                                United States District Court
